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1                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
2

3    IN RE: ROUNDUP PRODUCTS LIABILITY MDL No. 2741
     LITIGATION
4                                      MDL Case No. 3:16-md-02741-VC
5    THIS DOCUMENT RELATES TO:
                                                        Honorable Vince Chhabria
6    Philip Glassman and Barbara Glassman
                                                        Case No. 3:20-cv-00024
7    v.
                                                        UNOPPOSED MOTION TO MOVE CASE
8
     Monsanto Co.                                       TO WAVE VI
9

10

11          Plaintiffs Philip and Barbara Glassman—without opposition from Defendant Monsanto

12   Company—respectfully requests the Court move his case from Wave V to Wave VI:
13          1.      Mr. Glassman’s case is part of Wave V.
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            2.      Over the past several months, Plaintiffs’ counsel has been taking and defending fact
15
     witness, expert witness, treating physician depositions, engaging in written discovery, and
16

17   preparing for trial in Ferro, et al. v Monsanto, No. 20SL-CC03678—a consolidated case pending

18   in St. Louis County, Missouri. Expert depositions and discovery in the Ferro case must be
19   completed by August 18, 2022 and the Ferro trial is currently set to begin on October 24, 2022.
20
            3.      The parties are currently briefing various pretrial motions, designating deposition
21
     testimony, and finalizing exhibit and witness lists.
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23          4.      Counsel for Plaintiffs met and conferred with counsel for Monsanto. Plaintiffs

24   believe the best course of action would be to move this case to a later Wave and Monsanto does
25   not oppose this request.
26
            Therefore, Plaintiffs, Philip and Barbara Glassman, without opposition from Defendant,
27
     Monsanto Company, respectfully request the Court move their case from Wave V to Wave VI.
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                            UNOPPOSED MOTION TO MOVE CASE TO WAVE VI - 1
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     DATED: September 14, 2022                  Respectfully submitted,
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3                                               /s/ Jeffrey L. Haberman      __________
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                       UNOPPOSED MOTION TO MOVE CASE TO WAVE VI - 2
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1                                       CERTIFICATE OF SERVICE
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               I hereby certify that on September 14, 2022, I served a copy of the foregoing on the Clerk
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     of Court by CM/ECF, which will provide automatic notification to all parties and counsel of
4
     record.
5

6                                                           By: /s/ Jeffrey L. Haberman
                                                               Jeffrey L. Haberman
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                              UNOPPOSED MOTION TO MOVE CASE TO WAVE VI - 3
